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                     IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII
 ROMAN ANDERSON, individually and              CIVIL NO.
 on behalf of all others similarly situated,
                                               CLASS ACTION COMPLAINT
                  Plaintiff,
            vs.
 SUBARU OF AMERICA, INC., a New
 Jersey corporation; SUBARU CORP., a
 Japanese corporation; DENSO
 INTERNATIONAL AMERICA, INC., a
 Delaware corporation; and DENSO               JURY TRIAL DEMANDED
 CORP., a Japanese corporation,
                  Defendants.

                                CLASS ACTION COMPLAINT




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            Plaintiff Roman Anderson (“Plaintiff”), individually and on behalf of all

 others similarly situated, upon personal knowledge of the facts pertaining to

 himself and on information and belief as to all other matters, by and through

 undersigned counsel, hereby brings this class action complaint against Defendants

 Subaru Corporation, Subaru of America, Inc., Denso Corporation, and Denso

 International America, Inc. (collectively, “Defendants”) and alleges as follows:

                                NATURE OF THE CASE

            1.    Denso is a $47.6 billion company that claims to be a leading supplier

 of advanced automotive technology, systems and components for automakers. It is

 one of the largest suppliers of original equipment (“OE”) fuel pumps to vehicle

 manufacturers, including to Subaru. According to Denso, its fuel “pumps are

 chosen as standard equipment by the world’s most demanding OEMs, especially

 for their premium vehicles.”

            2.    On April 24, 2020, Denso issued a recall for defective low pressure

 fuel pumps it manufactured between September 1, 2017 and October 6, 2018 (the

 “Denso Recall”). The number of potentially affected vehicles across manufacturers

 is 2,020,000.

            3.    Denso explains that “[a]n impeller in some low pressure fuel pumps

 may become deformed under certain conditions which could render the fuel pump

 inoperable.” Specifically, if “an impeller is manufactured with a lower density, and

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 contains a lower surface strength or is exposed to production solvent drying for a

 longer period of time, higher levels of surface cracking may occur which, when

 excessive fuel absorption occurs, may result in impeller deformation” (the “Fuel

 Pump Defect”).1

            4.   The Fuel Pump Defect is a safety hazard. Denso warns that “an

 inoperative fuel pump may result in the illumination of the check engine light

 and/or master warning indicators, rough engine running, engine no start and/or

 vehicle stall while driving at low speed and, in rare instances, a vehicle stall could

 occur while driving at higher speeds, increasing the risk of a crash.”2

            5.   Denso says it notified affected vehicle manufacturers and that it is up

 to each manufacturer to conduct recalls, as necessary, to replace the fuel pumps.

 The recall schedule and any remedy program must be determined by each vehicle

 manufacturer.

            6.   On April 16, 2020, a few days before Denso issued its recall, Subaru

 recalled 188,207 vehicles because of the Fuel Pump Defect (the “Subaru Recall”).

 Recalled vehicles include the 2019 Impreza, Ascent, Legacy and Outback.

            7.   However, Subaru did not recall all vehicles manufactured with fuel

 pumps made in Denso’s specified time frame. Instead, Subaru limited its recall to


 1
            https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
 2
            Id.
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 only those vehicles equipped with a low pressure fuel pump manufactured by

 Denso during the four-month period, April 2018 to July 2018, despite that Denso

 recalled fuel pumps manufactured over a thirteen-month period.

            8.    In addition, while Denso broadly identified the defect as impellers

 manufactured with a lower density that have either a lower surface strength or were

 overexposed to solvent drying, both of which could result in impeller deformation

 and fuel pump failure, the Subaru Recall excludes lower density impellers made

 with a lower surface strength. The Subaru Recall improperly applies only to lower

 density fuel pumps exposed to solvent drying for longer periods of time. Subaru

 gives no reason why it limited its recall in this manner despite Denso’s broader

 recall.

            9.    Like Denso, Subaru recognizes serious safety issues accompany the

 Fuel Pump Defect. Subaru warns that an inoperative low pressure fuel pump may

 cause the check engine warning light or malfunction indicator light to illuminate,

 the engine to run rough, and worst case, the engine may stall without the ability to

 restart the vehicle, increasing the risk of a crash. Nevertheless, Subaru delayed

 warning owners and lessees of recalled vehicles about the Fuel Pump Defect.

            10.   Subaru also failed to include all vehicles affected by the Fuel Pump

 Defect in its recall. Likewise, even though Denso’s recall is broader than Subaru, it

 too improperly limited its recall by failing to include all defective low pressure fuel

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 pumps. Reports of faulty fuel pumps and problems associated with inoperative fuel

 pumps, such as vehicles stalling while driving, have been made by owners and

 lessees to the National Highway Traffic Safety Administration (“NHTSA”) dating

 back to 2015, or earlier. Additionally, at least one other manufacturer that uses

 Denso’s fuel pumps has recalled vehicles made as early as 2013 for the same Fuel

 Pump Defect involving Denso low pressure fuel pumps that were made with a

 lower density.

            11.   Accordingly, Denso and Subaru’s recalls are improperly narrow. All

 makes, models and years of Subaru vehicles that are equipped with the same

 dangerous and defective low pressure fuel pump supplied by Denso should be

 recalled. These models and model years include the 2015-2019 Subaru Impreza,

 Ascent, Legacy, Outback, Forester, Crosstrek and WRX. (collectively, the “Subject

 Vehicles”). Plaintiff brings this class action on behalf of owners and lessees of

 Subject Vehicles that are equipped with defective Denso low-pressure fuel pumps.

                              JURISDICTION AND VENUE

            12.   The Court has jurisdiction over Plaintiff’s claims pursuant to the Class

 Action Fairness Act, 28 U.S.C. § 1332(d) because: (a) this action is brought as a

 proposed class action under Fed. R. Civ. P. 23; (b) the proposed Class includes

 more than 100 members; (c) many of the proposed Class members are citizens of




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 states that are diverse from Defendants’ citizenship; and (d) the matter in

 controversy exceeds $5,000,000, exclusive of interest and costs.

            13.   This Court has personal jurisdiction over the Subaru entities because

 Subaru conducts business in Hawaii including by advertising, distributing and

 selling the Subject Vehicles. Subaru routinely conducts business in this District

 and some of the actions giving rise to this action took place in this District and/or

 caused injury to property in this state; and products, materials, or things processed,

 serviced, or manufactured by Subaru anywhere were used or consumed in this state

 in the ordinary course of commerce, trade, or use. Subaru has, at all relevant times,

 conducted and continues to conduct business in Hawaii, and every other state in

 the country.

            14.   This Court has personal jurisdiction over the Denso entities because

 Denso routinely conducts business in this District and some of the actions giving

 rise to this action took place in this District and/or caused injury to property in this

 state; and products, materials, or things processed, serviced, or manufactured by

 Denso anywhere were used or consumed in this state in the ordinary course of

 commerce, trade, or use. Vehicles all over the world, including this District, are

 equipped with Denso parts, including the Fuel Pump. Denso has, at all relevant

 times, conducted and continues to conduct business in Hawaii, and every other

 state in the country.

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            15.   Venue is proper in this judicial District under 28 U.S.C. § 1391

 because a substantial part of the events or omissions giving rise to the conduct

 alleged herein occurred in, were directed to, and/or emanated from this District.

 Venue is also proper because Defendants transact business in this District.

                                         PARTIES

 Plaintiff

            16.   Plaintiff Roman Anderson is a citizen of Hawaii and resides in

 Laupāhoehoe, Hawaii. In or about Spring 2019, Plaintiff purchased a Subaru-

 certified pre-owned 2017 Subaru Outback with approximately 17,000 miles from

 Big Island Motors in Hilo, Hawaii. He purchased the vehicle primarily for

 personal, family, or household purposes. Plaintiff’s 2017 Outback was distributed,

 sold, leased, advertised, marketed and warranted by Subaru and bears the Vehicle

 Identification No. 4S4BSACC5H3335520. Plaintiff purchased an extended

 warranty for the vehicle.

            17.   Safety was a primary factor in Plaintiff’s decision to buy his car. His

 decision to purchase a Subaru was based in large part on the years-long advertising

 campaign to which he had been exposed through various media where he heard

 and        read numerous     advertisements promoting       Subaru’s leadership     and

 commitment to designing and building cars that are safe and reliable. In addition,

 prior to purchasing his Outback, Plaintiff reviewed Subaru’s sales and promotional

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 materials, including Subaru’s brochure and website for the Outback. All of

 Subaru’s materials reinforced Subaru’s branding the vehicle as being safe and

 reliable. He also researched his vehicle online by looking at Subaru forums where

 owners discussed their experience with the Outback. Plaintiff test drove the

 Outback (and Crosstrek) at the Subaru-authorized dealership, spoke with the dealer

 sales representative, viewed the sticker posted on the side window of the vehicle,

 and other materials. None of these indicated his vehicle may have a Fuel Pump

 Defect. Plaintiff had a reasonable expectation that the vehicle he purchased was

 safe and reliable.

            18.   Plaintiff’s vehicle exhibits the Fuel Pump Defect. In and around May

 2020, Plaintiff’s vehicle experienced engine no start twice in one week. He was

 able to restart the vehicle but only after multiple attempts. A year earlier, in

 approximately November 2019, his vehicle stalled as he waited at a stop sign.

            19.   Plaintiff’s vehicle was not included in the recall. As such, he will not

 benefit from any corrective remedy under the recall. Because repairs of a fuel

 pump often require replacement of the entire fuel pump assembly, which can cost

 as much as $1,000, Plaintiff has not had the vehicle repaired.

            20.   At all relevant times, Plaintiff has driven the vehicle in a foreseeable

 manner and the manner in which it was intended to be used. Plaintiff would not




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 have purchased his 2017 Outback if Subaru had disclosed the Fuel Pump Defect or

 would have only agreed to purchase the vehicle at a substantially reduced price.

 Defendants

            21.   Defendant Subaru of America, Inc. is a New Jersey Corporation with

 its principal place of business at One, Subaru Drive, Camden, New Jersey 08103.

 Subaru of America, a wholly-owned subsidiary of Subaru Corporation, is

 responsible for the design, manufacture, distribution, sale, lease, and marketing of

 the Subject Vehicles in Hawaii and throughout the United States. It has a

 nationwide dealership network and operates offices and facilities throughout the

 United States.

            22.   Defendant Subaru Corporation is a Japanese corporation with its

 principal place of business in Shibuya-ku, Tokyo, Japan, and is the parent company

 of Subaru of America. Through its various entities (including Subaru of America),

 Subaru Corporation designs, manufactures, markets, distributes and sells Subaru

 automobiles in the United States, including Hawaii. Throughout the Complaint

 Subaru Corporation and Subaru of America, Inc. are collectively referred to as

 “Subaru.”

            23.   Denso International America, Inc. (“DIAM”) is a Delaware

 corporation with its principal place of business at 24777 Denso Drive, Southfield,

 Michigan 48033. DIAM employs over 17,000 employees across 13 states and

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  25 sites. In fiscal year ending March 31, 2019, DIAM generated $10.9 billion in

  consolidated sales. DIAM is 100% owned by its Japanese parent company, Denso

  Corporation. It is Denso Corporation’s North American regional headquarters and

  parent company for its North American operations, including design and

  production engineering, technical support, sales and finance.

             24.   Denso Corporation is a $48.3 billion global supplier of advanced

  technology and components for nearly every vehicle make and model on the road

  today. Denso Corporation invests in its 221 facilities in 35 countries to produce

  thermal, powertrain, mobility, electrification, and electronic systems. Denso has

  over 170,000 employees worldwide and is globally headquartered in Kariya, Japan.

  Denso is 100% owner of at least 10 subsidiaries in the United States, including

  DIAM. Throughout the Complaint DIAM and Denso Corporation are collectively

  referred to as “Denso.”

                                FACTUAL BACKGROUND

  I.         DENSO LOW PRESSURE FUEL PUMPS

             25.   Denso is a leading supplier of OE fuel pumps and fuel pump modules

  to major automakers, including Subaru. According to its website, Denso recorded

  nearly $50 billion in consolidated net sales in 2019.

             26.   Fuel pumps transfer gas from the fuel tank and pressurize and deliver

  it to the engine. Denso explains the role of the electric fuel pump as “deliver[ing]

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  fuel from the tank to the engine, under high pressure, depending on the vehicle

  application’s specific requirements. The fuel is transported to fuel injectors, which

  spray the fuel into the engine cylinders.”3

             27.   Fuel pumps are designed to last at least 100,000 miles.4 Denso claims

  its fuel pumps “offer more than triple the lifetime[.]”5

             28.   The fuel delivery system relies on two pumps to supply fuel to the

  engine: a low pressure fuel pump and high pressure fuel pump. Denso refers to

  these as the in-line (high pressure) and in-tank (low pressure) pumps.

             29.   The in-take fuel pump is mounted inside the fuel tank and pumps fuel

  from the fuel tank to the engine by supplying fuel pressure to the fuel injection

  system. An impeller, located under the pump motor, is a key component of the low

  pressure fuel pump. The impeller is a plastic disk that rotates and draws in fuel

  and pushes it up through the pump.6 Denso’s in-tank fuel pump looks like this:7




  3
        https://www.denso-am.eu/products/automotive-aftermarket/ignition/fuel-
  pumps/
  4
        https://www.yourmechanic.com/article/how-long-does-a-fuel-pump-usually-
  last
  5
        https://densoautoparts.com/fuel-pumps.aspx
  6
        https://www.denso-am.co.uk/products/automotive-aftermarket/ems-lambda-
  sensor/fuel-pumps/how-they-work/
  7
        https://aftermarket.denso.com.sg/product_info/?cat_id=194
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             30.   Denso describes the operation of its in-take fuel pump as “[w]hen the

  impeller of an in-tank [f]uel [p]ump rotates, the blade moves around the impeller,

  creating a swirling motion inside the pump to deliver fuel. The fuel then passes

  around the motor, forcing the check valve upwards to supply fuel to the fuel pipe.”8

             31.   The inside of a Denso impeller and Denso’s depiction of the fuel

  pump operation is displayed below:9




  8
             https://www.denso-am.eu/media/966284/dems180001mm-lr.pdf
  9
             Id.; https://densoautoparts.com/fuel-pumps.aspx
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             32.   Fuel pump failure can have serious consequences. Denso’s materials

  identify the symptoms of a faulty in-tank fuel pump as:

                   • Difficult Start Up: The engine is unable to operate due to
                     insufficient fuel supplied to the engine from the fuel tank.

                   • Engine Stalling: Engine starts to stall after start-up because
                     the fuel pump is unable to deliver enough fuel to the engine.
                     This might happen even when the gas pedal is pressed.

                   • Poor Drivability: Insufficient flow rate of fuel leads to
                     weak acceleration of the car. The fuel pressure is not enough
                     to supply required fuel to the system.

                   • “Check Engine” Light is on: This symptom shows there is
                     something wrong with the engine. One of the factors could
                     be due to malfunction of fuel pump.10
  II.        DENSO’S RECALL OF LOW PRESSURE FUEL PUMPS

             33.   On April 24, 2020, Denso International America, Inc. issued a safety

  recall for low pressure fuel pumps it manufactured between September 1, 2017 and

  October 6, 2018.11 It estimates the potential number of units affected at 2,020,000.

             34.   According to Denso “[a]n impeller within the low pressure fuel pump

  may crack and deform, potentially causing the fuel pump to fail.” If “an impeller is

  manufactured with a lower density, and contains a lower surface strength or is

  exposed to production solvent drying for a longer period of time, higher levels of




  10
             https://aftermarket.denso.com.sg/product_info/?cat_id=194
  11
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
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  surface cracking may occur which, when excessive fuel absorption occurs, may

  result in impeller deformation.”

             35.   Denso’s recall notice explains that if an impeller deforms to a point

  that creates sufficient interference with the fuel pump body, the fuel pump

  becomes inoperative. An “inoperative fuel pump may result in the illumination of

  the check engine light and/or master warning indicators, rough engine running,

  engine no start and/or vehicle stall while driving at low speed and, in rare

  instances, a vehicle stall could occur while driving at higher speeds, increasing the

  risk of a crash.”

             36.   Denso   notified   affected    vehicle   and   aftermarket   equipment

  manufacturers whose responsibility it is to conduct recalls as necessary to replace

  the fuel pumps. Denso claims that the impeller of fuel pumps used for a remedy

  component have a higher density.

             37.   Denso supplies low pressure fuel pumps to Subaru, which it notified

  of the defect. Denso’s recall notice identified Subaru OE low pressure fuel pumps

  with the following part numbers as being subject to the Denso Recall: 291100112;

  291100113; 291100119; 291100166; 291100170; 291100190. These are Denso’s

  part numbers – Subaru assigns its own numbers to the same parts.




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  III.       SUBARU’S LIMITED RECALL OF DENSO LOW PRESSURE FUEL
             PUMPS

             38.   On April 16, 2020, eight days before Denso initiated its recall of low

  pressure fuel pumps, Subaru of America issued its own recall. Subaru’s recall

  notice identifies the component manufacturer as Denso International America, Inc.

  According to Subaru the number of potentially affected vehicles is 188,207.

             39.   Subaru describes the defect as “[t]he affected vehicles may be

  equipped with a low pressure fuel pump produced during a specific timeframe

  which includes an impeller that was manufactured with a lower density. If the

  surface of the lower density impeller is exposed to solvent drying for longer

  periods of time, it may develop fine cracks. Those cracks may lead to excessive

  fuel absorption, resulting in impeller deformation. Over time, the impeller may

  become deformed enough to interfere with the body of the fuel pump, potentially

  causing the low pressure fuel pump to become inoperative.”

             40.   Signs of an inoperative fuel pump are “the check engine warning light

  or malfunction indicator light may illuminate, and/or the engine may run rough. In

  the worst case, an inoperative fuel pump may result in the engine stalling without

  the ability to restart the vehicle, increasing the risk of a crash.” Subaru did not

  mention that the problem could also cause stalling at low speeds, which Denso

  asserted as one of the safety concerns in its own recall.



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             41.   The Subaru Recall include is limited to the following makes and

  models produced during the specified dates:

                   • 2019 Impreza (produced June 18, 2018 to February 25, 2019)

                   • 2019 Ascent (produced June 26, 2018 to January 18, 2019)

                   • 2019 Legacy (produced June 29, 2018 to February 19, 2019)

                   • 2019 Outback (produced June 29, 2018 to February 19, 2019)

             42.   According to Subaru, the recall population includes 28,050 model

  year 2019 Impreza station wagons and 12,747 Impreza 4-Door vehicles

  manufactured between June 18, 2018 and February 25, 2019; 86,278 Outback

  vehicles and 20,182 Legacy vehicles manufactured between June 29, 2018 and

  February 19, 2019; and 40,950 Ascent vehicles produced June 26, 2018 to January

  18, 2019.

             43.   Not all vehicles with fuel pumps manufactured in Denso’s specified

  production range were recalled. Also, Subaru says it must confirm coverage for

  each vehicle.

             44.   For potentially affected vehicles, Subaru will replace the low pressure

  fuel pump with an improved part at no cost. Purportedly, remedy components have

  a fuel pump impeller with a higher density.




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  IV.        SUBARU’S RECALL IS INADEQUATE

             45.   The Fuel Pump Defect poses a serious safety risk. Denso and Subaru

  both recognize that inoperative fuel pumps may cause vehicles to stall while

  driving, putting drivers, occupants and other vehicles on the road at risk of being

  involved in a serious crash.

             46.   Despite this risk, Subaru’s recall fails to include all potentially

  affected vehicles, exposing owners and lessees to serious injury or death from

  faulty fuel pumps.

             47.   Denso’s recall states that unsafe surface cracking may result if an

  impeller is (1) manufactured with a lower density and (2) contains a lower surface

  strength or is exposed to production solvent drying for a longer period of time.

  Denso claims defective pumps were manufactured during the thirteen-month

  period, September 1, 2017 to October 6, 2018.

             48.   Subaru’s recall does not account for fuel pumps made with a “lower

  surface strength,” which Denso identifies as an element of the defect that can lead

  to pump failure. Instead, Subaru recalled only pumps made with an impeller that

  was produced with a lower density and also exposed to solvent drying for longer

  periods of time. For reasons not stated, Subaru excluded pumps manufactured with

  a lower surface strength.




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             49.   By comparison, on January 13, 2020, Toyota issued a recall for

  defective Denso low pressure fuel pumps. Toyota’s Amended Defect Information

  Report,12 dated March 4, 2020, outlines its investigation into the Fuel Pump Defect

  and reveals that impeller swelling and deformation were observed not only in

  impellers made with a lower density and which were exposed to production solvent

  drying for longer periods of time, but also in low density impellers that had a lower

  surface strength. Toyota explained that it:

             [O]bserved that some field cases involved impellers that had low
             density with similar cracks to other field cases, but experienced
             shorter lead times to the vehicle assembly plant (i.e., were not exposed
             to drying solvent for longer periods of time during production in the
             same manner as the pumps investigated above). Thus, Toyota
             investigated a second factor, which was the surface strength of
             different pump impeller types. Analyses were performed on impeller
             samples from the pump types that may have been produced with
             lower density material. These analyses identified that the surface
             strength was low on one particular type. Impellers of this type,
             produced with the lower density material, can experience higher levels
             of surface cracking even when exposed to shorter durations of solvent
             drying.

             Based on the above activities, Toyota concluded that pumps produced
             with impellers of lower density that also contain either (1) a pump
             impeller of a type with lower surface strength or (2) a pump impeller
             that was exposed to production solvent drying for longer periods of
             time could experience the impeller cracking at a level that could lead
             to excessive fuel absorption and
             increased impeller deformation. If impeller deformation results in
             sufficient interference with the fuel pump body, the fuel pump may
             become inoperative.

  12
             https://static.nhtsa.gov/odi/rcl/2020/RMISC-20V012-9970.pdf
                                               17
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             50.   As a result of the above investigation, Toyota expanded its recall.

  Initially, Toyota recalled multiple model year 2018-2019 vehicles with fuel pumps

  manufactured by Denso between August 1, 2018 and January 31, 2019.13 Two

  months later, Toyota expanded the recall to include model year 2013-2017 vehicles

  with fuel pumps made as early as September 2, 2013, asserting that the pumps

  “were produced with impellers of lower density” and contained either lower

  surface strength or exposure to solvent drying for too long.14

             51.   Toyota’s analysis is noteworthy considering that it owns 25 percent of

  Denso Corporation, the parent company of Denso International America, Inc., and

  has numerous and ongoing joint ventures with Denso for research and development

  of new vehicle technology and components. In 2019, Toyota also increased its

  ownership of Subaru Corporation to 20 percent, making it a Subaru affiliate. Thus,

  Subaru is aware of Toyota’s extended recall and the implications it has for

  Subaru’s own Denso fuel pumps.

             52.   Further, while Denso recalled fuel pumps manufactured between

  September 1, 2017 and October 6, 2018, Subaru only recalled vehicles equipped

  with fuel pumps manufactured during the four-month period, April 2018 and July




  13
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V012-4479.PDF
  14
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V012-7857.PDF
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  2018. This is so despite Subaru acknowledging Denso did not begin using fuel

  pumps with a higher density impeller until July 2019.

             53.   Subaru’s recall, which is limited to the 2019 Impreza, Ascent, Legacy

  and Outback with specified part numbers, excludes other makes, models and years

  that were equipped with the same defective low pressure fuel pumps.

             54.   Specifically, Subaru’s Product Campaign Bulletin (dated April 29,

  2020) sent to dealers lists affected part numbers as follows:15




             55.   But Subaru’s Genuine Subaru Parts website shows that fuel pump part

  numbers 42021AL02C and 42021AL03C are also used in, for example, model year

  2015-2019 Subaru Outback and Legacy vehicles.16 Subaru offered no explanation

  for why fuel pumps with the same part numbers, including the fuel pump in the

  subject 2017 Outback, were excluded from the recall. Further, Plaintiff reasonably


  15
             https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-8906.pdf
  16
             https://parts.subaru.com
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  believes that other makes, models and years of Subaru vehicles have the same Fuel

  Pump Defect based on NHTSA reports going back to at least 2015 that show

  owners and lessees complaining of vehicles stalling while driving.

             56.   Since at least 2015, Subaru owners and lessees have reported

  problems with engine stall while driving, the most dangerous indicator of an

  inoperative fuel pump. Similar complaints made to NHTSA are indicative that

  other makes, models and years were manufactured with the same defective Denso

  fuel pump.

             57.   Below are example complaints filed with NHTSA that demonstrate

  the Fuel Pump Defect is more widespread than the 2019 Impreza, Ascent, Legacy,

  Outback:17

                    Subaru Crosstrek Complaints, Model Years 2015-2019

              NHTSA ID Number: 11051438
              Incident Date: November 8, 2017
              Model: 2015 Crosstrek

              ENGINE STALLED WITHOUT WARNING WHILE DRIVING ON
              HIGHWAY

              NHTSA ID Number: 11232199
              Incident Date: July 11, 2019
              Model: 2015 XV CROSSTREK

              WAS DRIVING . . ., WHEN SUDDENLY THE VEHICLE LOST
              ACCELERATION, THE RPMS WENT LOW, AND THE VEHICLE
  17
       All complaints to NHTSA have been reproduced as originally written and
  may contain spelling or grammatical errors.
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             DIED. NO WARNING LIGHTS OR INDICATIONS OF A
             PROBLEM BEFORE THE EVENT. . .TOW INTO THE DEALER.
             FUEL PUMP FAILURE WAS DETERMINED TO BE THE
             CAUSE.

             NHTSA ID Number: 11242454
             Incident Date: August 1, 2019
             Model: 2015 Crosstrek

             THE CONTACT OWNS A 2015 SUBARU CROSSTREK. WHILE
             DRIVING 80-85 MPH, THE VEHICLE STALLED ON SEVERAL
             OCCASIONS WITHOUT WARNING

             NHTSA ID Number: 11119786
             Incident Date: August 9, 2018
             Model: 2015 Crosstrek

             CAR STALLED AND DIED WHILE DRIVING ON FREEWAY
             TRAVELING 75MPH. FELT LIKE THE TRANSMISSION
             SHIFTED INTO A LOW GEAR AND THE RPM'S REVVED. CAR
             IMMEDIATELY LOST POWER . . . EXACT SAME SYMPTOMS
             HAPPENED TO THE SAME VEHICLE 6 MONTHS AGO. CAR
             DIED ON FREEWAY TRAVELING 75MPH . . . THE ENGINE
             DIED 3 OTHER TIMES WHILE DRIVING AT LEAST 45MPH[.]

             NHTSA ID Number: 11292354
             Incident Date: December 3, 2019
             Model: 2018 Crosstrek

             THE CAR ENGINE HAS STALLED 4 TIMES SINCE JULY
             WHEN WIFE WAS ACCELERATING ONTO A MAIN STREET
             OR THROUGH AN INTERSECTION, TURNING FROM A STOP.

             NHTSA ID Number: 11170789
             Incident Date: June 3, 2018
             Model: 2018 Crosstrek

             THE CONTACT OWNS A 2018 SUBARU CROSSTREK. WHILE
             DRIVING AT LOW SPEEDS, THE VEHICLE STALLED AND

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             WAS REAR ENDED

             NHTSA ID Number: 11234224
             Incident Date: July 14, 2019
             Model: 2019 Crosstrek

             CAR HESITATES AND STALLS OUT AT SLOW SPEEDS AND
             HAS   STALLED   WHILE   PULLING   OUT   INTO  A
             INTERSECTION.

             NHTSA ID Number: 11289092
             Incident Date: December 3, 2019
             Model: 2019 Crosstrek

             I WAS DRIVING IN TRAFFIC TO COMPLETE STOP, AS I WAS
             ACCELERATING THE VEHICLE STALLED


                   Subaru Forester Complaints, Model Years 2015-2019

             NHTSA ID Number: 11288567
             Incident Date: December 9, 2019
             Model: 2015 Forester

             CAR WILL STALL AT LIGHT AND STALL ON FREEWAY
             CAUSING ME TOO LOOSE CONTROL IT WILL ALSO JUST
             TURN OFF AT HIGH SPEED AND SOMETIMES WHEN STOPED

             NHTSA ID Number: 11003831
             Incident Date: June 17, 2017
             Model: 2015 Forester

             ENGINE STALL AT HIGHWAY SPEEDS. THIS                      HAS
             OCCURRED TO ME ON TWO SEPARATE OCCASIONS.

             NHTSA ID Number: 11265857
             Incident Date: September 28, 2019
             Model: 2015 Forester



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             THE CONTACT OWNS A 2015 SUBARU FORESTER. WHILE
             DRIVING APPROXIMATELY 70-75 MPH, THE FUEL GAUGE
             INDICATOR DISPLAYED APPROXIMATELY 50 MILES TO
             EMPTY AND THE VEHICLE STALLED WITHOUT WARNING.
             THE CONTACT WAS ABLE TO RESTART THE VEHICLE

             NHTSA ID Number: 11280656
             Incident Date: November 17, 2019
             Model: 2015 Forester

             CAR STALLED WHILE DRIVING, WITH NO LIGHTS LIT UP
             ON THE DASHBOARD. HAPPENED TWICE, ONCE AT 5 MPH
             AND AGAIN AT 25 MPH. THE TWO TIMES IT HAPPENED
             WERE ABOUT THREE MINUTES APART THIS MORNING

             NHTSA ID Number: 11318234
             Incident Date March 13, 2020
             Model: 2015 Forester

             CONTACT CALLED ON BEHALF OF HER FATHER WHO
             OWNS A 2015 SUBARU FORESTER. THE CONTACT STATED
             THAT WHILE DRIVING AT A SLOW SPEED, THE VEHICLE
             STALLED WITH THE CHECK ENGINE WARNING LIGHT
             ILLUMINATED. THE CONTACT WAS UNABLE TO RESTART
             THE VEHICLE. . . THE CONTACT WAS INFORMED THAT THE
             VEHICLE WAS NOT SUBJECTED TO A RECALL.

             NHTSA ID Number: 11154770
             Incident Date: November 22, 2018
             Model: 2015 Forester

             MY 2015 FORESTER STALLED WHILE DRIVING IN THE
             MIDDLE LANE ON THE NJ PARKWAY (GOING ABOUT 65-
             70MPH.)

             NHTSA ID Number: 11057652
             Incident Date: December 22, 2017
             Model: 2015 Forester



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             ON TWO OCCASIONS: TRAVELING AT APPROX 65- 70MPH
             THE ENGINE SUDDENLY STALLS AND WE HAVE BEEN
             FORCED TO STOP ON THE SHOULDER.

             NHTSA ID Number: 10919048
             Incident Date: September 17, 2016
             Model: 2015 Forester

             ON TWO DIFFERENT OCCASIONS, MY CAR STALLED
             WHILE DRIVING ON THE HIGHWAY. THE ENGINE STOPPED
             RUNNING AND I HAD TO COAST TO THE SIDE OF THE
             ROAD.

             NHTSA ID Number: 10898057
             Incident Date: August 20, 2016
             Model: 2015 Forester

             WHILE DRIVING 75-80 MPH ON THE INTERSTATE, I LOST
             THE ABILITY TO ACCELERATE. LUCKILY I WAS ABLE TO
             CHANGE LANES (I WAS IN THE MIDDLE LANE WHEN I LOST
             POWER) AND PULL OVER. ALL THE LIGHTS WERE ON
             (CHECK ENGINE, AT OIL TEMP, BATTERY,ECT) AND WHAT I
             WAS ABLE TO STOP THE CAR, IT STALLED

             NHTSA ID Number: 10896488
             Incident Date: July 14, 2016
             Model: 2016 Forester

             THE CONTACT OWNS A 2016 SUBARU FORESTER. WHILE
             DRIVING 50 MPH, THE VEHICLE STALLED AND WAS ABLE
             TO BE RESTARTED AFTER SOME TIME. THE FAILURE
             RECURRED ON NUMEROUS OCCASIONS.

             NHTSA ID Number: 10895441
             Incident Date: May 12, 2016
             Model: 2016 Forester

             THE CONTACT OWNS A 2016 SUBARU FORESTER. WHILE
             DRIVING VARIOUS SPEEDS AND ATTEMPTING TO

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             ACCELERATE, THE ENGINE STALLED, MISFIRED, AND
             HESITATED WITHOUT WARNING.

             NHTSA ID Number: 10885629
             Incident Date: July 18, 2016
             Model: 2016 Forester

             THREE TIMES OVER THE PAST 2 WEEKS MY VEHICLE HAS
             AT HIGHWAY SPEEDS.

             NHTSA ID Number: 11048323
             Incident Date: November 24, 2017
             Model: 2016 Forester

             I'VE HAD THIS CAR FOR 1.5 YEARS AND IT'S ALREADY
             STALLED TWICE TIMES. BOTH TIMES I WAS DRIVING ON
             THE HIGHWAY AND WITHOUT ANY WARNING MY CAR
             JUST STARTED TO RAPIDLY DECREASE SPEED.

             NHTSA ID Number: 11150304
             Incident Date: January 16, 2018
             Model: 2016 Forester

             I HAVE AN ISSUE WHERE THE ENGINE WILL FLUTTER IN
             IDLE AND WILL ALMOST SKIP AS IF IT'S NOT GETTING ANY
             GAS. THE FLUTTER CAUSES THE CAR TO SHAKE, IT HAS
             EVEN CAUSED THE CAR TO STALL. WHEN IT STALLED I
             HAD STARTED THE CAR, PUT IT IN DRIVE, TAPPED THE
             GAS AND THE ENGINE CUT OUT AND SHUT OFF.

             NHTSA ID Number: 11218540
             Incident Date: June 3, 2019
             Model: 2016 Forester

             ON TWO DIFFERENT OCCASIONS 24 HOURS APART THE
             CAR STALLED (SEEMED TO DROP INTO NEUTRAL) AT
             HIGHWAY SPEEDS ~80MPH . . . ONCE ON THE SIDE OF THE
             ROAD IN PARK THE ENGINE DIED.



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             NHTSA ID Number: 11311652
             Incident Date September 1, 2019
             Model: 2017 Forester

             THE CONTACT OWNS A 2017 SUBARU FORESTER. WHILE
             DRIVING APPROXIMATELY 70 MPH THE VEHICLE
             SUDDENLY STALLED. . . THE CONTACT STATED THAT THE
             VEHICLE WOULD NOT ACCELERATE WHEN PRESSING THE
             ACCELERATOR PEDAL. WHILE DRIVING, THE SPEED WAS
             SUDDENLY REDUCED. AFTER TURNING THE VEHICLE OFF
             AND RESTARTING THE ENGINE, THE VEHICLE OPERATED
             AS NORMAL.

             NHTSA ID Number: 11306742
             Incident Date November 19, 2019
             Model: 2017 Forester

             THE CONTACT OWNS A 2017 SUBARU FORESTER. THE
             CONTACT STATED WHILE DRIVING AT 15 MPH, THE
             VEHICLE STALLED WITHOUT WARNING. THE CONTACT
             WAS ABLE TO RESTART THE VEHICLE.

             NHTSA ID Number: 11103515
             Incident Date: June 17, 2018
             Model: 2017 Forester

             WE HAVE A 2017 FORESTER SUBARU 2.5I WITH 12,548
             MILES. THE SUV WILL RANDOMLY JERK, JUMP AND HAS
             STALLED IN HWY & CITY TRAFFIC TWICE

             NHTSA ID Number: 11092568
             Incident Date: April 22, 2018
             Model: 2017 Forester

             ON APRIL 22, 2018, MY 2017 FORESTER WITH 22,000 MILES
             ON IT STALLED IN THE CARPOOL LANE OF A BUSY LA
             FREEWAY [] TRAFFIC IN THE LANE HAD COME TO A
             COMPLETE STOP AND WHEN IT PICKED UP AGAIN, THE
             ENGINE STALLED.

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             NHTSA ID Number: 11114000
             Incident Date: July 25, 2018
             Model: 2018 Forester

             MY 2018 SUBARU FORESTER XT SHUT OFF WHILE DRIVING
             2 TIMES ON 7/26/18 . . . UST SHUT OFF WHILE DRIVING. AND
             CAME TO A SUDDEN STOP IN A MATTER OF SECONDS -I
             WAS GOING 40 MPH

             NHTSA ID Number: 11282288
             Incident Date: December 15, 2018
             Model: 2018 Forester

             THE CONTACT OWNS A 2018 SUBARU FORESTER. WHILE
             DRIVING VARIOUS SPEEDS, THE VEHICLE STALLED AND
             SOMETIMES LOST POWER. THE VEHICLE RESTARTED
             AFTER IT WAS SHUT OFF. THERE WAS NO WARNING
             INDICATOR ILLUMINATED.

             NHTSA ID Number: 11270696
             Incident Date: October 18, 2019
             Model: 2019 Forester

             THE CONTACT OWNS A 2019 SUBARU FORESTER. WHILE
             TRAVELING 20 MPH, THE VEHICLE STALLED AND SHUT
             OFF WITHOUT WARNING. THE CONTACT ATTEMPTED TO
             RESTART THE VEHICLE, BUT WAS UNSUCCESSFUL.

                   Subaru Outback Complaints, Model Years 2015-2019

             NHTSA ID Number: 11245466
             Incident Date: August 20, 2019
             Model: 2017 Outback

             CAR STALLED (4X'S AT LEAST) WHEN MAKING TURNS;
             STALLED AFTER PASSING A CAR WHEN I RETURNED TO
             MY LANE WITH HIGH SPEED TRAFFIC BEHIND ME. HAVE
             HAD THIS PROBLEM SINCE WE PURCHASED CAR.

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             NHTSA ID Number: 11208473
             Incident Date: May 18, 2019
             Model: 2017 Outback

             IN TWO SEPARATE EVENTS THE CAR LOST POWER WHILE
             ACCELLORATING AT HIGHWAY SPEEDS TO MERGE INTO
             TRAFFIC FROM A STAND STILL. THE GAS PEDAL BECAME
             UNRESPONSIVE AND THE TRANMISSION STOPPED
             SHIFTING. IN THE FIRST INCIDENT THE ENGINE STALLED,
             AND IN THE SECOND IT SPUTTERED AND ALMOST DIED
             DURING A HEAVY MERGE ON AN ON RAMP.

             NHTSA ID Number: 11081469
             Incident Date: March 27, 2018
             Model: 2018 Outback

             I WAS DRIVING MY CHILD TO SCHOOL ON A RAINY
             MORNING IN TRAFFIC,20-30MPH ON A STRAIGHT ROAD.
             THE CAR STALLED AND THEN THE ENGINE SHUT OFF.

                    Subaru WRX Complaints, Model Years 2015-2019

             NHTSA ID Number: 11151074
             Incident Date: September 10, 2017
             Model: 2015 WRX STI
             DRIVING DOWN THE ROAD AT APPROX 30MPH HEARD A
             NOISE, CAR AND WOULD NOT START BACK UP[.]

             NHTSA ID Number: 11099429
             Incident Date: June 3, 2018
             Model: 2016 WRX

             I WAS DRIVING DOWN THE HIGHWAY AND THE CAR LOST
             A LITTLE POWER START TO SLOW DOWN TILL IT
             EVENTUALLY STALLED OUT AND NOW IT STARTS BUT
             DOES NOT STAY RUNNING.

             NHTSA ID Number: 11098135

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              Incident Date: May 25, 2018
              Model: 2016 WRX
              AFTER LEAVING WORK AND DRIVING LESS THAN ONE
              MILE, THE VEHICLE'S ENGINE STALLED WHILE
              APPROACHING A CONTROLLED INTERSECTION.

                    Subaru Impreza Complaints, Model Years 2015-2019

              NHTSA ID Number: 11051576
              Incident Date: November 21, 2017
              Model: 2015 Impreza

              THE CONTACT OWNS A 2015 SUBARU IMPREZA. WHILE
              DRIVING 35 MPH, THE VEHICLE STALLED WITHOUT
              WARNING.

              NHTSA ID Number: 11064197
              Incident Date: January 21, 2018
              Model: 2017 Impreza

              MY CAR STALLED 3X YESTERDAY, 1/21/2017 WHILE
              DRIVING. I WAS AT A TRAFFIC LIGHT ABOUT TO MAKE A
              LEFT TURN WHEN THE CAR SUDDENLY STALLED

                     Subaru Legacy Complaints, Model Years 2015-2019

              NHTSA ID Number: 10783002
              Incident Date: October 15, 2015
              Model: 2015 Legacy

              CAR ENGINE STALLED WHILE IN MOTION ON A CITY
              STEET. CAR WAS RESTARTED BUT ENGINE LIGHT WAS ON.

             58.   The Subaru Recall hints that the problem is more widespread than

  what Denso and Subaru are actually reporting and acting on. During just an eight-

  month period – July 2019 to March 2020 – Subaru identified 33 unique dealer and

  non-dealer field reports indicative of the Fuel Pump Defect, 245 warranty claims

                                            29
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  for a fuel pump replacement (excluding abnormal noise claims), and 1 complaint to

  NHTSA [VOQ].18 Notably, these claims were made shortly after the recalled 2019

  model vehicles entered the market demonstrating that the fuel pumps are failing

  well before they should, given their anticipated useful life.

             59.   Subaru vehicles made with faulty Denso fuel pumps that were not

  included in the recall also may be at risk of failing their next California smog test

  and emissions tests required in other states, meaning owners and lessees will be

  unable to renew their vehicle registration.

             60.   In conjunction with the recall, Subaru issued a Product Campaign

  Bulletin to address the Fuel Pump Impeller Failure.19 In it, Subaru identified the

  safety recall as an emission related campaign and advised that owners would not be

  able to renew their registration if the repair was not made. It also warned that “[i]n

  addition, the State of California requires that every vehicle must pass an emission

  test (SMOG Check) every two years and before it is sold. Without the repair we

  are providing at no charge, your vehicle may not pass this test.”20

             61.   For those fortunate enough to be included in the Subaru Recall but

  who previously paid to remedy the Fuel Pump Defect the Subaru Recall is also

  inadequate.

  18
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V218-1477.PDF
  19
             https://static.nhtsa.gov/odi/rcl/2020/RCMN-20V218-4406.pdf
  20
             https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-7149.pdf
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             62.   For covered vehicles, Subaru will replace the low pressure fuel pump

  with an improved part at no cost. However, those who previously paid for repairs

  are eligible for reimbursement only if they can provide an original service repair

  order that identifies the name of the repair facility, date of repair, mileage at the

  time of repair, complete 17-digit vehicle identification number (VIN), and the

  owner or lessee name, correct mailing address and telephone number. This

  disadvantages those who elected to have their car repaired by a non-Subaru dealer

  and likely do not have a repair invoice or receipt that includes this detailed

  information.

  V.         THE FUEL PUMP DEFECT CREATES UNSAFE CONDITIONS

             63.   The Fuel Pump Defect in the Subject Vehicles exposes occupants and

  others to extreme danger, or even death. A vehicle that stalls or suffers engine

  shutdown is at a heightened risk for collision.

             64.   Defendants acknowledge that the Fuel Pump Defect exposes drivers,

  passengers and other vehicles to a risk of serious crash. Denso states that the result

  of an inoperative fuel pump includes “rough engine running, engine no start and/or

  vehicle stall while driving at low speed,” and, worst, “a vehicle stall could occur

  while driving at higher speeds, increasing the risk of a crash.”21 Subaru warns “an




  21
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
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  inoperative fuel pump may result in the engine stalling without the ability to restart

  the vehicle, increasing the risk of a crash.”22

             65.   Fuel pump failure can also prevent the driver from accelerating at the

  necessary and anticipated pace. Diminished acceleration ability creates unexpected

  hazards, startling drivers of Subject Vehicles and other drivers in their proximity.

             66.   Defendants collectively designed, engineered, tested, validated,

  manufactured and placed in the stream of commerce the defective low pressure

  fuel pumps and Subject Vehicles with the Fuel Pump Defect in a manner that

  subjects Class members to an unreasonable risk of death or injury.

  VI.        DEFENDANTS’ KNOWLEDGE OF THE FUEL PUMP DEFECT

             67.   Denso is experienced in the design and manufacture of OE and

  aftermarket fuel pumps. It touts the “Denso Difference” claiming its auto parts are

  made with “Precision engineering. Advanced design. The highest OEM quality.”23

  It tells customers “[b]ecause DENSO’s rigorous manufacturing and testing process

  produces each fuel pump, you can be sure it meets our high standards for fit and

  performance.” As part of its rigorous testing of fuel pumps and its ongoing

  relationships with manufacturer customers Denso, knew or should have known




  22
             https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V218-1477.PDF
  23
             https://www.denso-am.eu/media/966284/dems180001mm-lr.pdf
                                              32
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  about the Fuel Pump Defect months, if not years, before it initiated a recall on

  April 24, 2020.

             68.   For instance, on October 18, 2018, almost two years before Denso

  recalled its low-pressure fuel pumps, it published a patent (along with Sumitomo

  Bakelite Co., Ltd.) for a new impeller made with a higher-density plastic

  compound and with improved mechanical strength.24 The patent explains that a

  fuel pump has a “housing and impeller” and that an impeller may swell “due to the

  fuel and water contained in the fuel[.]” If an impeller swells too much it may come

  into contact with the housing and stop the “rotation of the impeller[.]” Denso noted

  that in recent years, it had used a resin that had proven to swell excessively. The

  new patent proposed an impeller made with a resin material capable of resisting

  absorption, suppressing the swelling of the impeller, and increasing the mechanical

  strength through greater density.

             69.   The problem identified in the patent is very similar to the language

  used in Denso’s April 2020 recall of its low pressure fuel pumps where Denso

  determined that low-density impellers in the fuel pump could experience

  deformation due to excessive fuel absorption caused by higher levels of surface

  cracking. Excessive cracking was observed on (1) impellers that were made with a

  lower density and which had a lower surface strength, and also on (2) impellers

  24
             US 2018/0298857, Impeller for Fuel Pump, publ. Oct. 18, 2018
                                             33
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  that were made with a lower density and were exposed to production solvent

  drying for a longer period of time.

             70.   Subaru is also experienced in the design and manufacture of consumer

  vehicles. In keeping with industry standards, Subaru provides specifications for

  component parts to the suppliers; reviews the design record, manufacturer control

  plans, and validation reports produced by suppliers; conducts tests, including pre-

  sale durability tests, on incoming components to verify the parts are free from

  defect and comply with its specifications; issues final approval of the parts; and

  purchases them for installation in its vehicles. As such, Subaru knew or should

  have known about the Fuel Pump Defect and that it was prone to put drivers in a

  dangerous position due to the inherent risk of the defect.

             71.   In addition, upon information and belief, Subaru became aware of the

  Fuel Pump Defect through sources not available to Plaintiff and Class members

  years before the limited recall it announced in April 2020, including, but not

  limited to, design failure mode and analysis data, pre-production testing, industry

  knowledge about the importance of selecting the proper materials, visits to Denso

  factories to observe its manufacturing practices, early consumer complaints made

  exclusively to Subaru’s network of dealers and directly to Subaru, aggregate

  warranty data compiled from Subaru’s network of dealers, testing conducted by




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  Subaru in response to consumer complaints, and repair order and parts data

  received by Subaru from Subaru’s network of dealers.

             72.   Further, federal law requires automakers like Subaru to be in close

  contact with NHTSA regarding potential defects. See TREAD Act, Pub. L. No.

  106-414, 114 Stat. 1800 (2000). Accordingly, Subaru should and presumably does

  monitor NHTSA databases for consumer complaints regarding their automobiles as

  part of their obligation to identify potential defects in their vehicles, such as the

  Fuel Pump Defect.

             73.   From its monitoring of the NHTSA databases, Subaru knew or should

  have known of the many Fuel Pump Defect complaints lodged, such as those

  quoted in paragraph 57 above. However, Subaru failed to act on that knowledge by

  warning Class members.

             74.   Although they knew about the Fuel Pump Defect, Denso and Subaru

  waited months (if not years) to issue their recalls knowing Subject Vehicles with

  unsafe and defective fuel pumps were being driven by unsuspecting owners and

  lessees. Subaru issued its recall on April 16, 2020, and Denso formally recalled its

  fuel pumps on April 24, 2020. Meanwhile, Toyota issued a recall for the same

  defective fuel pumps on January 13, 2020, over three months before Denso and

  Subaru.




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             75.   Further, even though Subaru announced the recall on April 16, 2020,

  replacement parts to complete the recall were not available until June 4, 2020, over

  a month later. In conjunction with the recall, Subaru issued a Product Campaign

  Bulletin to address the Fuel Pump Impeller Failure.25 The initial bulletin dated

  April 23, 2020, and sent to Subaru retailers, said that remedy parts would not be

  available until later that month and labeled the recall as “Open – Remedy Not Yet

  Available.” On May 7, 2020, Subaru changed the status of the recall to “Open –

  Limited Parts Available” explaining that a limited supply of parts had become

  available to support repairs but were to be used only on affected vehicles presented

  for other services prior to owner notification. Sufficient remedy parts did not

  become available until June 4, 2020, at which point Subaru modified its Bulletin

  and changed the status of the recall to “Open.” Subaru did not begin notifying

  affected vehicle owners until June 4, 2020.

             76.   Despite admitting that the Fuel Pump Defect creates a safety hazard,

  Subaru never advised owners or lessees to stop driving affected vehicles until the

  Fuel Pump Defect could be repaired or replaced. Instead, Subaru continues to

  represent that its vehicles are safe and that it is an industry-leader in safety

  innovations.




  25
             https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-7149.pdf
                                             36
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  VII. DEFENDANTS BUILT THEIR REPUTATIONS ON THE SAFETY
       AND RELIABILITY OF THEIR PRODUCTS

             77.    Denso’s reputation is built on reliability. Denso considers itself “one

  of the world’s largest automotive component suppliers of advanced automotive

  technology and systems” and claims to “supply every major auto manufacturer in

  the world, providing them with the quality and innovation they need to remain on

  the leading edge of automotive technology” and who “[f]or decades [] [has] helped

  all of our customers to become giants in their industries.]” Denso touts its

  “commitment to quality, innovation, and advanced technology [] [as] the reason

  our automotive and heavy-duty components truly are better by design.”26

             78.    According to Denso, “Not All Fuel Pumps are Created Equal” and

  “DENSO’s proprietary turbine pump technology delivers the highest sustained fuel

  pressures in the industry, and this is why our pumps are chosen as standard

  equipment by the world’s most demanding OEMs, especially for their premium

  vehicles.” 27

             79.    Denso repeatedly promotes the advanced design and technology of its

  fuel pumps. The armature (number 1 in below diagram) is “[u]ltra high balanced to

  minimize noise and vibration[,]” the turbine technology (2) “[d]elivers fuel with

  minimal          pressure   pulsation   for   quieter   operation[,]”   the   check   valve

  26
             http://oemfuelpump.com/portfolio.html
  27
             https://densoautoparts.com/fuel-pumps.aspx
                                                 37
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  (3) “[m]aintains consistent system pressure for superior hot fuel handling

  characteristics[,]” the relief valve (4) “[p]rotects the fuel delivery system[,]” the

  choke coils (5) “[m]inimize radio interference[,]” and the brushes (6) are

  “[d]esigned for durability, efficiency, and low-resistance operation.”28




             80.   Denso customers are assured that “because DENSO’s rigorous

  manufacturing and testing process produces each fuel pump, you can be sure it

  meets our high standards for fit and performance.”29 “Tests have proven DENSO

  Fuel Pumps offer more than triple the lifetime with the same flow performance and

  half the power consumption of competitive fuel pumps[.]”30

             81.   In a similar vein, Subaru has branded itself as the maker of safe and

  dependable vehicles, spending millions of dollars on extensive marketing and

  advertising campaigns to cement the association of safety and reliability with

  Subaru, including the Subject Vehicles.

             82.   Subaru’s reputation is built on safety. Subaru claims to be “committed

  to driver safety” and describes its design philosophy as “Safety First.” According

  28
             Id.
  29
             https://www.amazon.com/Denso-953-4101-Fuel-Pump/dp/B000TGPCIA
  30
             https://densoautoparts.com/fuel-pumps.aspx
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  to Subaru: “There’s safe, and then there’s SUBARU SAFE. When you choose a

  Subaru, you’re not just choosing a car. You’re choosing a company with a lifetime

  commitment to protecting those you love.”31 Subaru’s website reinforces this

  message:32




             83.   On February 14, 2020, Alan Bethke, Senior Vice Present of

  Marketing for Subaru of America, reiterated Subaru’s philosophy on safety,

  stating:

             At Subaru, we are proud to produce safe and reliable vehicles that,
             time and again, have given our owners the ability to create their own
             adventures and memories. [] The Outback has earned the highest
             model loyalty in its class for the past three years, and our latest
             Outback advertising campaign reinforces our commitment to creating
             vehicles that not only keep our owners safe on the road, but also
             enhance their lives.33

             84.   Subaru was touting the safety and reliability of its vehicles, including

  the Subject Vehicles, as far back as 2013.


  31
       https://www.subaru.com/safety
  32
       Id.
  33
       http://media.subaru.com/pressrelease/1580/122/subaru-unveils-all-new-
  marketing-campaign-reveal-most
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             85.   Subaru promotes its 4-pronged approach to safety, which it describes

  as “Primary Safety,” “Active Safety,” “Preventive Safety,” and “Passive Safety”

  all of which combine to create “All-Around Safety.”

             86.   The “Primary Safety” concept considers safety from the primary

  stages of the vehicle’s design such as form and operation.34 The “Active Safety”

  concept aims to improve collision avoidance on the road: “SUBARUs designed

  with such a high level of basic functionality are also designed to avoid dangerous

  situations with an outstanding reputation for safety.”35 “Preventive Safety” strives

  to prevent accidents through the use of advanced technologies and “Passive

  Safety” aims to protect passengers in the event of a collision, “[d]esigning every

  aspect of the car with the aim of guaranteeing utmost safety is a collision safety

  concept that is unique to SUBARU.”36

             87.   Subaru says it has “spent a long time fine-tuning [] [its] ‘All-Around

  Safety’ system which protects people from any danger in any situation[]” and

  describes how it has been “considering safety from many angles in order to deliver

  ‘Enjoyment and Peace of Mind’ to all passengers who ride in Subaru vehicles, and

  to achieve [] [its] ultimate goal of creating a traffic accident-free society.”37


  34
             https://www.subaru-global.com/technology/safety/primarysafety.html
  35
             https://www.subaru-global.com/technology/safety/activesafety.html
  36
             https://www.subaru-global.com/technology/safety/
  37
             Id.
                                              40
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             88.   Subaru also promotes its “high-efficiency powertrain with minimal

  waste” describing how “[t]he key lies with just how much power the engine can

  generate from a minimal quantity of fuel, and how that power can be transmitted to

  the wheels without any loss through the transmission system. Subaru continues to

  fine-tune the technology behind the engine and transmission with the belief that

  they can be engineered to deliver the level of drivability that Subaru strives for,

  without having a detrimental impact on the environment.”38

             89.   Subaru’s marketing of the Subject Vehicles and Denso’s marketing of

  the defective fuel pumps is replete with assurances about their safety and

  reliability. But a vehicle that can suddenly stall and lose power during normal

  operating conditions is inherently unsafe and renders their marketing untrue and

  materially misleading. Plaintiff and other Class members have been damaged as a

  result.

             90.   Despite these assurances Subaru was secretly aware that its suppliers

  were not meeting quality standards. In 2019, an internal Subaru report that was

  leaked to an automotive industry publication found that “nearly half of Subaru’s

  suppliers were recently operating at quality levels below Subaru’s internal




  38
             https://www.subaru-global.com/technology/environment/highefficiency.html

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  target.”39 Subaru’s 2019 Annual Report to investors noted that fiscal year 2019

  was, “a year in which latent issues at SUBARU came to light, which enabled us to

  confirm that we are moving in the right direction with corporate culture reforms,

  quality reforms,” and mid-term management revisions.40

             91.   The average consumer researching the safety of a vehicle would not

  come across these materials and thus would remain unaware that Subaru is aware

  of systemic quality control issues during the time frame in which the defective

  Denso fuel pumps were made. Instead, consumers would see only Subaru’s public

  proclamations of its vehicles’ safety.

  VIII. WARRANTY COVERAGE FOR THE FUEL PUMP DEFECT

             92.   Subaru’s New Vehicle Limited Warranty “covers any repairs needed

  to correct defects in material or workmanship reported during the applicable

  warranty period and which occur under normal use[.]” The warranty provides basic

  coverage for 3 years or 36,000 miles, whichever comes first. The “entire vehicle is

  covered” subject to exclusions listed in the warranty. Subaru’s warranty promises

  that “[d]efective parts will be repaired or, at the option of SOA [Subaru of

  America] or your Authorized SUBARU Retailer, replaced with new or

  remanufactured parts without charge to you for labor and materials.”

  39
       Hans Greimel, “Behind the Scenes, Subaru Races to Boost Quality,” Auto.
  News, June 24, 2019.
  40
       Subaru Annual Report, 2019, at 8.
                                            42
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             93.   Because the Fuel Pump Defect often arises outside the warranty

  period, owners are on the hook to pay to repair this defect, which Defendants have

  known about for months, if not years. Repair and replacement can cost upwards of

  hundreds of dollars. Subaru’s Product Campaign Recall with instructions to dealer

  technicians on how to complete the recall repair shows the many steps involved in

  performing this repair.

             94.   Defendants know the Fuel Pump Defect affects more makes, models

  and years of vehicles than were included in the Denso and Subaru Recalls leaving

  owners and lessees on the hook to pay hundreds of dollars to repair this defect.

                            CLASS ACTION ALLEGATIONS

             95.   Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23(a),

  (b)(2), (b)(3) on behalf of a proposed Nationwide Class defined as:

             All persons who purchased or leased a Subject Vehicle for end use
             and not for resale in the United States, the District of Columbia,
             Puerto Rico, or any other United States territory or protectorate.

             96.   Alternatively, Plaintiff alleges a Hawaii multistate class (“Hawaii

  Class”) defined as:

             All persons who purchased or leased a Subject Vehicle for end use
             and not for resale in Hawaii and other states with similar laws.
  Excluded from the Class are: (a) Defendants officers, directors, and employees;

  (b) judicial officers assigned to this case; (c) governmental entities; and (d) persons

  who timely and properly exclude themselves from the Class.

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             97.   Certification of Plaintiff’s claims for classwide treatment is

  appropriate because Plaintiff can prove the elements of his claims on a classwide

  basis using the same evidence as would be used to prove those elements in

  individual actions alleging the same claims.

             98.   Numerosity – Federal Rule of Civil Procedure 23(a)(1). Each Class

  consists of thousands of people. The precise number of Subject Vehicles is

  unknown to Plaintiff but may be ascertained from Defendants’ books and records.

  Therefore, each Class is so numerous that joinder of all members would be

  impracticable.

             99.   Commonality and Predominance – Federal Rule of Civil

  Procedure 23(a)(2) and 23(b)(3). This action involves common questions of law

  and fact that predominate over any questions affecting individual Class members,

  including:

              a.   whether Defendants engaged in the conduct alleged herein;

              b.   whether Defendants’ alleged conduct violates applicable law;

              c.   whether Defendants designed, advertised, marketed, distributed,

                   leased, sold, or otherwise placed the Subject Vehicles into the stream

                   of commerce in the United States;

              d.   whether Defendants made false or misleading statements about the

                   quality and safety of the Subject Vehicles;

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              e.   whether the Subject Vehicles contain the Fuel Pump Defect;

              f.   whether Defendants had actual or implied knowledge about the

                   alleged defect but failed to disclose it to Plaintiff and members of each

                   Class;

              g.   whether Defendants’ omissions and concealment regarding the quality

                   of the Subject Vehicles were likely to deceive the Class members in

                   violation of the state consumer protection statutes alleged herein;

              h.   whether Subaru breached its express warranties with respect to the

                   Subject Vehicles;

              i.   whether Subaru breached its implied warranties with respect to the

                   Subject Vehicles;

              j.   whether the members of each Class are entitled to damages,

                   restitution, disgorgement, statutory damages, exemplary damages,

                   equitable relief, and/or other relief; and

              k.   the amount and nature of relief to be awarded to Plaintiff and

                   members of each Class.

             100. Defendants engaged in a common course of conduct giving rise to the

  legal rights sought to be enforced by Plaintiff, individually and on behalf of the

  other Class members. Similar or identical statutory and common law violations,

  business practices, and injuries are involved. Individual questions, if any, pale by

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  comparison, in both quality and quantity, to the numerous common questions that

  dominate this action.

             101. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s

  claims are typical of the claims of the other Class members because, among other

  things, Plaintiff and the other Class members were injured through Defendants’

  substantially uniform misconduct described above. Plaintiff advanced the same

  claims and legal theories on behalf of himself and all other Class members, and no

  defense is available to Defendants that is unique to Plaintiff.

             102. Adequacy of Representation – Federal Rule of Civil Procedure

  23(a)(4). Plaintiff is an adequate representative of each Class because his interests

  do not conflict with the interests of the other Class members. Additionally,

  Plaintiff has retained counsel competent and experienced in complex class action

  litigation. Thus, the interests of each Class will be fairly and adequately protected

  by Plaintiff and his counsel.

             103. Declaratory and Injunctive Relief – Federal Rule of Civil

  Procedure 23(b)(2). Defendants have acted or refused to act on grounds generally

  applicable to Plaintiff and the other members of each Class, thereby making

  appropriate final injunctive relief and declaratory relief, as described below, for the

  Nationwide and Hawaii Class members as a whole.




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             104. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class

  action is superior to any other available means for the fair and efficient

  adjudication of this controversy, and no unusual difficulties are likely to be

  encountered in the management of this matter as a class action. The damages,

  harm, or other financial detriment suffered individually by Plaintiff and the other

  Class members are relatively small compared to the burden and expense that would

  be required to litigate their claims on an individual basis against Defendants,

  making it impracticable for Class members to individually seek redress for

  Defendants’ wrongful conduct. Even if Class members could afford individual

  litigation, the court system should not be forced to shoulder such inefficiency.

  Individualized litigation would create a potential for inconsistent or contradictory

  judgments and increase the delay and expense to all parties and the court system.

  By contrast, the class action device presents far fewer management difficulties,

  providing the benefits of single adjudication, economies of scale, and

  comprehensive supervision by a single court.

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                                   CAUSES OF ACTION

                                          COUNT I

                VIOLATION OF HAWAII’S UNFAIR DECEPTIVE ACTS
                          AND PRACTICES STATUTE
                                   H.R.S. §§ 480-1, et seq.
             (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                  or, Alternatively, the Hawaii Class as to All Defendants)

             105. Plaintiff repeats and realleges all other paragraphs as fully set forth

  herein.

             106. This cause of action is brought pursuant to Hawaii’s Unfair Deceptive

  Acts and Practices Statute (“UDAP”), H.R.S. §§ 480-1, et seq.

             107. Plaintiff brings this claim individually and on behalf of members of

  the Nationwide Class, or, alternatively the Hawaii Class.

             108. Plaintiff and each of the Class members are “consumers,” as the term

  is defined by H.R.S. § 480-1, because they are natural persons who purchased or

  leased one or more Subject Vehicles equipped with defective Denso low pressure

  fuel pumps, primarily for personal, family, or household purposes.

             109. The conduct alleged in this Complaint constitutes unfair and deceptive

  acts and practices for the purpose of the UDAP because the conduct was

  undertaken by Defendants in the conduct of their trade and commerce.

             110. Defendants’ conduct, as described herein, in misrepresenting that the

  Subject Vehicles are safe and reliable, and omitting the fact that they designed,


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  manufactured, distributed and sold Subject Vehicles with a Fuel Pump Defect that

  causes the fuel pump to fail prematurely, violates H.R.S. § 480-2(a) prohibiting

  “[u]nfair methods of competition and unfair or deceptive acts or practices in the

  conduct of any trade or commerce are unlawful.”

             111. In the course of conducting business, Defendants committed “unfair”

  business practices by, among other things, making the representations and

  omissions of material facts that Subject Vehicles were safe and reliable. During

  any one of Plaintiff’s interactions with Subaru dealerships, Subaru and/or Denso

  could have disclosed the material fact of the Fuel Pump Defect, and that would

  have resulted in Plaintiff receiving the information. There is no societal benefit

  from such false and misleading representations and omissions—only harm. While

  Plaintiff and the other Class members were harmed by this conduct, Defendants

  were unjustly enriched. As a result, Defendants’ conduct is “unfair,” as it has

  offended an established public policy. Further, Defendants engaged in immoral,

  unethical, oppressive, and unscrupulous activities that are substantially injurious to

  consumers. There were reasonably available alternatives to further Defendants’

  legitimate business interests other than the conduct described.

             112. Defendants’ actions, claims, omissions, and misleading statements

  were also false or misleading and likely to deceive the consuming public within the

  meaning of H.R.S. § 480-2(a).

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             113. Plaintiff, in fact, has been deceived as a result of his reliance on

  Defendants’ material representations and omissions, which are described above.

  Plaintiff has suffered injury in fact and lost money as a result of purchasing or

  leasing his Subject Vehicle. Such injury includes paying more for a Subject

  Vehicle than he should have, diminished value of his Subject Vehicle, and other

  damages proximately caused by Defendants’ misconduct as alleged herein.

             114. Defendants acts were deceptive because their misrepresentations and

  omissions were material and were likely to mislead reasonable consumers.

             115. Defendants willfully engaged in the above-described unfair and

  deceptive acts and practices constituting violations of the UDAP. Defendants knew

  or should have known that their unfair and deceptive acts and practices were

  frivolous and malicious.

             116. Pursuant    to   H.R.S.   § 480-13(b)(1)   and   (c),   Plaintiff   seeks

  compensatory damages of threefold the damages incurred by himself and each

  Class member in purchasing Subject Vehicles with the Fuel Pump Defect, as well

  as reasonable attorney’s fees together with costs.

             117. Unless restrained and enjoined, Defendants will continue to engage in

  the above-described conduct. Accordingly, injunctive relief is appropriate.

  Plaintiff, on behalf of himself, all others similarly situated, and the general public,

  seek restitution from Defendants of all money obtained from Plaintiff and other

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  Class members as a result of their unfair competition, an injunction prohibiting

  Defendants from continuing such practices, corrective advertising, and all other

  relief this Court deems appropriate, consistent with H.R.S. § 480-13(b)(2) and (c).

                                          COUNT II

                VIOLATION OF HAWAII’S UNFAIR DECEPTIVE ACTS
                           & PRACTICES STATUTE
                                    H.R.S. §§ 481A, et seq.
             (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                  or, Alternatively, the Hawaii Class as to All Defendants)

             118. Plaintiff repeats and realleges all other paragraphs as fully set forth

  herein.

             119. This cause of action is brought pursuant to Hawaii’s UDAP, H.R.S.

  §§ 481A-1, et seq.

             120. Defendants are “persons” under H.R.S. § 481A-2 because they are

  corporations.

             121. Defendant violated the UDAP by misrepresenting and omitting

  material facts regarding Subject Vehicles, and by engaging in the following

  practices proscribed by H.R.S. § 481A-3 in transactions that were intended to

  result in, and did result in, the sale of Subject Vehicles:

              a.   representing that Subject Vehicles have sponsorship, approval,

                   characteristics, ingredients, uses, benefits, or quantities that they do

                   not have;

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              b.   representing that Subject Vehicles are of a particular standard, quality,

                   or grade if they are of another;

              c.   advertising Subject Vehicles with intent not to sell them as advertised;

                   and

              d.   engaging in any other conduct which similarly creates a likelihood of

                   confusion or of misunderstanding.

             122. Defendants violated the UDAP by selling Subject Vehicles they knew

  possessed a uniform Fuel Pump Defect that causes the fuel pump to fail

  prematurely and could cause the Subject Vehicles to experience a check engine

  warning light malfunction or cause the indicator light to illuminate, the engine to

  run rough, the engine not to start and/or the vehicle to stall while driving at low or

  high speeds, exposing drivers, passengers and other vehicles on the road to an

  unreasonable safety risk. Defendants omitted from Plaintiff and the other Class

  members, to whom they had a duty to disclose, the material fact that Subject

  Vehicles were sold with a Fuel Pump Defect that created an unreasonable safety

  risk. This is a fact that a reasonable consumer would consider important in

  selecting a vehicle to purchase or lease.

             123. During any one of Plaintiff’s interactions with Subaru dealers, Subaru

  and/or Denso could have disclosed the material fact of the Fuel Pump Defect, and

  that would have resulted in Plaintiff receiving the information.

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             124. Pursuant to H.R.S. § 481A-4(a), Plaintiff, individually, and on behalf

  of the other Class members, seeks a court order enjoining the above-described

  wrongful acts and practices of Defendants, ordering Defendants to extend repair

  remedies to all Class members who have the Fuel Pump Defect, and awarding

  restitution and disgorgement.

             125. Pursuant to H.R.S. § 481A-4(b), Plaintiff, individually and on behalf

  of the other Class members, seeks reasonable attorney’s fees together with costs of

  suit. Defendants willfully engaged in the above trade practices knowing them to be

  deceptive.

                                         COUNT III

         BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                      H.R.S. § 490:2-314
             (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                or, Alternatively, the Hawaii Class as to Defendant Subaru)

             126. Plaintiff repeats and realleges all other paragraphs as fully set forth

  herein.

             127. Defendant Subaru is and was, at all relevant times, a “merchant” with

  respect to Subject Vehicles as defined by H.R.S. § 490:2-104, and manufactured,

  distributed, warrantied and/or sold Subject Vehicles.




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             128. Pursuant to H.R.S. § 490:2-314, a warranty that Subject Vehicles were

  in merchantable condition and fit for the ordinary purposes for which they were

  sold or leased was implied by law in the instant transactions.

             129. Plaintiff and the other Class members purchased or leased Subject

  Vehicles manufactured and sold by Defendant Subaru in consumer transactions.

             130. Subject Vehicles, when sold and at all times thereafter, were not in

  merchantable condition and not fit for the ordinary purpose for which cars are

  used. Subject Vehicles left Defendant’s possession and control with a Fuel Pump

  Defect that causes the fuel pump to fail prematurely and renders them at all times

  thereafter unmerchantable, unfit for ordinary use, unsafe, and a threat to public

  safety. Plaintiff and the other Class members used their Subject Vehicles in the

  normal and ordinary manner for which Subject Vehicles were distributed and

  advertised.

             131. Defendant Subaru knew before selling or leasing the Subject Vehicles

  to Plaintiff and the other Class members, or earlier, that the Subject Vehicles were

  manufactured with a Fuel Pump Defect that may cause the vehicles to among other

  things stall while driving, rendering Subject Vehicles unfit for their ordinary

  purpose.

             132. Despite Plaintiff’s and the other Class members’ normal and ordinary

  use, maintenance, and upkeep, the Subject Vehicles had a Fuel Pump Defect that

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  existed at the time Defendant transferred Subject Vehicles from its possession or

  control. The defect rendered Subject Vehicles unfit for their ordinary use and

  incapable of performing the tasks they were distributed, sold, leased advertised,

  and sold to perform.

             133. As a result, the Subject Vehicles, including their low pressure fuel

  pumps and related components, are not of fair or average quality. Nor would they

  pass without objection in the automotive industry. The fact that the Fuel Pump

  Defect may cause the Subject Vehicles to stall while driving renders the Subject

  Vehicles unsafe to drive, and requires repair or replacement before safe, ordinary

  use can resume.

             134. All conditions precedent have occurred or been performed.

             135. Defendant had actual notice of its breach of warranty. Through

  consumer complaints, warranty records, communications with its supplier (Denso),

  inter alia, Defendant knew of the defect, the existence and ubiquity of which it

  knew much earlier. Its implementation of the Subaru Recall and the corresponding

  Product Campaign Bulletin issued to Subaru retailers shows actual notice.

             136. Defendant’s warranty disclaimers, exclusions, and limitations, to the

  extent that they may be argued to apply, were, at the time of sale, and continue to

  be, unconscionable and unenforceable to disclaim liability for a known, latent

  defect. Defendant knew when it first issued these warranties and their limitations

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  that the defect existed, and the warranties might expire before a reasonable

  consumer would observe or experience the defect. Defendant also failed to take

  necessary actions to adequately disclose or cure the defect after the existence of the

  defect came to the public’s attention, and squandered its reasonable opportunity to

  cure or remedy the defect, its breaches of warranty, and consumers’ losses. Under

  these circumstances, it would be futile to enforce any informal resolution

  procedures or give Defendant any more time to cure the defect, cure its breaches of

  warranty, or otherwise attempt to resolve or address Plaintiff’s and the other Class

  members’ claims.

             137. As a direct and foreseeable result of the Fuel Pump Defect in Subject

  Vehicles, Plaintiff and the other Class members have suffered diminution in the

  value of Subject Vehicles, out-of-pocket losses related to repairing, maintaining,

  and servicing their defective Subject Vehicles, costs associated with arranging and

  obtaining alternative means of transportation, and other incidental and

  consequential damages recoverable under the law.

             138. Plaintiff and the other Class members have had sufficient direct

  dealings with Defendant or its agents (dealerships) to establish privity of contract

  between themselves and Defendant. Privity, nevertheless, is not required in this

  case because Plaintiff and the other Class members were intended third-party

  beneficiaries of contracts between Defendant and its dealers; specifically, they are

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  the intended beneficiaries of Defendant’s implied warranties. The dealers were not

  intended to be the ultimate consumers of Subject Vehicles; the warranty

  agreements were designed for, and intended to benefit, only the ultimate

  consumers—such as Plaintiff and the other Class members. Privity is also not

  required because Plaintiff’s and the other Class members’ Subject Vehicles are

  inherently dangerous due to the aforementioned defects and nonconformities.

                                         COUNT IV
                           BREACH OF EXPRESS WARRANTY
                                      H.R.S. § 490:2-313
             (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                or, Alternatively, the Hawaii Class as to Defendant Subaru)

             139. Plaintiff repeats and realleges all other paragraphs as fully set forth

  herein.

             140. Defendant Subaru is and was, at all relevant times, a “merchant” with

  respect to Subject Vehicles as defined by H.R.S. § 490:2-104, and manufactured,

  distributed, warrantied and/or sold Subject Vehicles.

             141. When marketing, distributing, and selling Subject Vehicles,

  Defendant expressly warranted that each provided 36 months or 36,000 miles of

  comprehensive coverage, whichever occurred first, during which time Subaru

  represented it would cover the cost of any repair or replacement necessary due to a

  defect in materials or workmanship relating to Subject Vehicles.


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             142. Defendant knew that the Subject Vehicles had the Fuel Pump Defect

  at the time of sale. Defendant breached express warranties when Defendant

  delivered Subject Vehicles that did not conform to its affirmations of fact and

  industry standards. Specifically, the Subject Vehicles were not safe for ordinary

  use contrary to Subaru’s decades long advertising campaign and other written and

  oral representations that promote above all else its commitment to designing and

  manufacturing vehicles that are safe and reliable.

             143. Subaru breached the express warranty to repair the defects in Subject

  Vehicles, because it failed to adequately repair the Fuel Pump Defect that causes

  the fuel pump to fail prematurely in Subject Vehicles to ensure such vehicles did

  not experience illumination of the check engine light and/or master warning

  indicators, rough engine running, engine no start and worst of all, vehicle stall

  while driving.

             144. Specifically, despite Defendant’s knowledge of the problem and

  opportunity to cure (as evidenced by the Subaru Recall and Product Campaign

  Bulletin), Defendant failed to notify Plaintiff and the other members of the Class of

  the defect and to adequately repair, at no charge to the Class, the Fuel Pump

  Defect.

             145. All conditions precedent have occurred or been performed.




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             146. Defendant had actual notice of its breach of warranty. Through

  consumer complaints, warranty records, communications with its supplier (Denso),

  inter alia, Defendant knew of the defect, the existence and ubiquity of which it

  knew much earlier. Its implementation of the Subaru Recall and the corresponding

  Product Campaign Bulletin issued to Subaru retailers shows actual notice.

             147. Defendant’s warranty disclaimers, exclusions, and limitations, to the

  extent that they may be argued to apply, were, at the time of sale, and continue to

  be unconscionable and unenforceable to disclaim liability for a known, latent

  defect. Defendant knew when it first made these warranties and their limitations

  that the defect existed and that the warranties might expire before a reasonable

  consumer would notice or observe the defect. Defendant also failed to take any

  actions to adequately disclose or cure the defect after the existence of the defect

  came to the public’s attention and sat on its reasonable opportunity to cure or

  remedy the defect, its breaches of warranty, and consumers’ losses. Under these

  circumstances, it would be futile to enforce any informal resolution procedures or

  give Defendant any more time to cure the defect, its breaches of warranty, or

  otherwise attempt to resolve or address Plaintiff’s and the other Class members’

  claims.

             148. Plaintiff and the other Class members were damaged as a result of

  Subaru’s breach of express warranty because the fuel pump and related

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  components on Subject Vehicles are defective, compromising the safety of the

  vehicles’ drivers and passengers, and requiring repair of Subject Vehicles’ for the

  Fuel Pump Defect.

             149. As a direct and foreseeable result of Defendant’s failure to repair

  Subject Vehicles, Plaintiff and the other Class members suffered diminution in the

  value of Subject Vehicles, out-of-pocket losses related to the repairing,

  maintaining, and servicing their defective Subject Vehicles, costs associated with

  arranging other forms of transportation, and other incidental and consequential

  damages recoverable under the law.

                                           COUNT V

                                  DECLARATORY RELIEF
             (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                or, Alternatively, the Hawaii Class Against All Defendants)
             150. Plaintiff repeats and realleges all paragraphs as fully set forth herein.

             151. Pursuant to 28 U.S.C. § 2201, the Court “may declare the rights and

  other legal relations of any interested party seeking such declaration, whether or

  not further relief is or could be sought.”

             152. Defendants marketed, distributed, and sold Subject Vehicles equipped

  with a Fuel Pump Defect.

             153. Accordingly, Plaintiff, individually and on behalf of the other Class

  members, seeks entry of the following declarations: (a) the model year 2015-2019


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  Subaru Impreza, Ascent, Legacy, Outback, Forester, Crosstrek and WRX vehicles

  contain a Fuel Pump Defect; (b) all persons who purchased or leased model year

  2015-2019 Subaru Impreza, Ascent, Legacy, Outback, Forester, Crosstrek and

  WRX vehicles must be provided the best practicable notice of the defect, the cost

  of which shall be borne by Defendants; and (c) Defendants must establish an

  inspection, repair, and replacement program and protocol, and notify all Class

  members of such program and protocol, pursuant to which Defendants, including

  their authorized representatives, and at no cost to Class members, will inspect,

  upon request, Class members’ Subject Vehicles for the Fuel Pump Defect and

  repair or replace the fuel pump and related components on Subject Vehicles, and

  related defect manifestations.

                                 REQUESTS FOR RELIEF

             WHEREFORE, Plaintiff, individually and on behalf of all others similarly

  situated, respectfully requests that the Court enter an Order:

             a.    certifying the proposed Nationwide Class, or alternately the proposed

                   Statewide Class under Federal Rule of Civil Procedure 23(a),

                   23(b)(2), and 23(b)(3), as requested herein, and appointing their

                   counsel as Class Counsel;

             b.    appointing Plaintiff as Class Representative;




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             c.   finding that Defendants engaged in the unlawful, unfair and deceptive

                  conduct as alleged herein;

             d.   awarding Plaintiff and the other Class members damages;

             e.   awarding Plaintiff and the other Class members restitution and

                  disgorgement of monies Defendants acquired through their violations

                  of the law;

             f.   awarding Plaintiff and the other Class members injunctive and

                  declaratory relief including requiring Defendants to promptly and

                  fully inform Class members of the Fuel Pump Defect and its

                  associated dangers and instructing such Class members to cease

                  driving their vehicles, and ordering Defendants to provide free loaner

                  vehicles of comparable make, model, or value to the Subject Vehicle

                  each Class member owns or leases until a remedy for the Fuel Pump

                  Defect is installed in the Subject Vehicles;

             g.   requiring Defendants to repair or replace the Fuel Pump Defect on

                  Subject Vehicles;

             h.   awarding Plaintiff and the other Class members pre-judgment and

                  post-judgment interest on all amounts awarded;

             i.   awarding Plaintiff and the other Class members reasonable attorneys’

                  fees, costs, and expenses; and

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             j.    granting such other relief the Court deems just and appropriate.

                                  JURY TRIAL DEMAND

             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

  by jury on all claims so triable.

             DATED: Honolulu, Hawaii, June 26, 2020.

                                              /s/ Steven K. S. Chung
                                              STEVEN K. S. CHUNG
                                              TIMOTHY E. HO
                                              TIMOTHY G. BLOOD(PHV forthcoming)
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